         Case
          Case1:24-cr-00359-PKC
               1:24-cr-00359-PKC Document
                                  Document22-3
                                           23 Filed
                                               Filed07/08/24
                                                     07/05/24 Page
                                                               Page11ofof11




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,

                v.                                                ORDER

 HERBERT ROSA,                                                24 Cr. 359 (PKC)

                Defendant.


        WHEREAS, with the defendant’s consent, the defendant’s guilty plea allocution was made

before United States Magistrate Judge Stewart D. Aaron on June 5, 2024;

        WHEREAS, a transcript of the plea allocution was made and thereafter was transmitted to

the District Court;

        WHEREAS, upon review of the transcript, this Court has determined that the defendant

entered the guilty plea knowingly and voluntarily and that there was a factual basis for the guilty

plea;

        IT IS HEREBY ORDERED that the defendant’s guilty plea is accepted. Sentencing is

scheduled for October 9, 2024, at 2:00 p.m., in Courtroom 11D.


SO ORDERED:

Dated: New York, New York
       July 8, 2024
